Case 1:15-cv-23653-MGC Document 46 Entered on FLSD Docket 08/08/2016 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 15-23653-Civ-COOKE/TORRES

  ORESTES FERNANDEZ,

         Plaintiff,

  vs.

  ISIDORO ZARCO, M.D., P.A. and
  ISIDORO ZARCO, M.D.,

        Defendants.
  __________________________________/
                         ORDER OF DISMISSAL WITH PREJUDICE
         THIS MATTER is before me upon the parties’ Settlement Agreement and their Joint
  Motion for Court Approval of Settlement and Dismissal of Case with Prejudice (“Joint
  Motion for Approval”) (ECF No. 45). I have reviewed the Joint Motion for Approval, the
  record, and the Settlement Agreement in accordance with Lynn’s Food Stores, Inc. v. United
  States, 679 F.2d 1350 (11th Cir. 1982).
         In their Joint Motion for Approval, the parties request that the Court dismiss the case
  with prejudice following the approval of the Settlement Agreement and retain jurisdiction of
  the matter to enforce the terms of the Settlement Agreement. Given that the parties have
  moved this Court for a dismissal pursuant to Federal Rule of Civil Procedure 41(a)(2), and
  the parties desire the Court to have continuing jurisdiction to enforce the terms of the
  Settlement Agreement, this Court shall retain jurisdiction of the matter to enforce the terms
  of the Settlement Agreement. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th
  Cir. 2012).
         Accordingly, it is ORDERED and ADJUDGED that the Joint Motion for Court
  Approval of Settlement and Dismissal of Case with Prejudice (ECF No. 45) is GRANTED.
  The parties’ Settlement Agreement is APPROVED.             This case is DISMISSED with
  prejudice.    This Court shall retain jurisdiction to enforce the terms of the Settlement
  Agreement. The Clerk of Court shall CLOSE this case. All pending motions, if any, are
  DENIED as moot.
Case 1:15-cv-23653-MGC Document 46 Entered on FLSD Docket 08/08/2016 Page 2 of 2




          DONE and ORDERED in Chambers at Miami, Florida, this 8th day of August
  2016.




  Copies furnished to:
  Edwin G. Torres, U.S. Magistrate Judge
  Counsel of Record




                                           2
